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      IN THE UNITED STATES DISTRICT COURT OF THE DISTRICT OF COLUMBIA




 CONRAD SMITH, et al.

        Plaintiffs,                                   1:21-CV-02265-APM

 v.

 DONALD J. TRUMP FOR PRESIDENT, INC.
 ET AL.

        Defendants.


       Pending before the Court is the Motion of Counsel, Juli Haller, for leave to Withdraw

from representation of Mr. Kelly Meggs.

ORDERED that the motion is GRANTED/DENIED.

       Signed this day of ________________, 2023.



                                                 ______________________________________
                                                                        AMIT P. MEHTA
                                                       UNITED STATES DISTRICT JUDGE
